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 5
     Attorney for Defendant
 6   LADONNA LEE MOON
 7
 8                           IN THE UNITED STATES DISTRICT COURT
 9                         FOR THE EASTERN DISTRICT OF CALIFORNIA
10
11    UNITED STATES OF AMERICA,                 )   Case No. 1:13-CR-00362 AWI-BAM-5
                                                )
12                          Plaintiff,          )   OPPOSED APPLICATION FOR ORDER
                                                )   EXTENDING SURRENDER DATE;
13       vs.                                    )   ORDER
                                                )
14    LADONNA LEE MOON,                         )
                                                )
15                          Defendant.          )   Judge: Hon. Anthony W. Ishii
                                                )
16                                              )
                                                )
17                                              )
18
19          Defendant Ladonna Lee Moon hereby requests an extension of time for her surrender to
20   the United States Bureau of Prisons, to commence service of her term of incarceration.
21          Ms. Moon was convicted at trial and has filed her timely notice of appeal. She is
22   currently preparing a motion for release pending appeal, which will be filed with this court no
23   later than April 22, 2016. Because this court hears criminal law and motion on the second and
24   fourth Mondays of the month, the earliest possible hearing date for Ms. Moon's motion for
25   release pending appeal is May 9, 2016, which is also her current surrender date. Ms. Moon is
26   requesting a short stay of her surrender date, to May 16, 2016, or one week after the court rules
27   on her motion for release pending appeal, whichever date is later. This extension is requested to
28   allow time for the court to rule on defendant’s motion for release pending appeal, and to allow



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 1   time for defendant to determine how to proceed in the event the motion is denied.
 2          Ms. Moon has no other criminal record. She has remained out of custody and complied
 3   with all conditions of release throughout the course of this case, and she has continued to comply
 4   with all conditions of release since sentencing. The Court has already determined that Moon is
 5   not a flight risk or a danger to the community, as it previously ordered Ms. Moon to self-
 6   surrender to the Bureau of Prisons.
 7          The government has advised defense counsel that it opposes this request to extend Ms.
 8   Moon’s surrender date, and that it will also oppose her motion for release pending appeal.
 9   However, the government has also advised that while it will file an opposition to Ms. Moon’s
10   motion for release pending appeal, it does not believe further briefing or oral argument is needed
11   on the issue of extending Ms. Moon’s surrender date. In the event the court desires oral argument
12   regarding the surrender date, the defense requests that this matter be heard on an expedited basis,
13   on April 25, 2016.
14          Based on the foregoing, defendant Moon, requests that her surrender date to the United
15   States Bureau of Prisons be extended to May 16, 2016, or one week after the court rules on her
16   motion for release pending appeal, whichever date is later.
17          Dated: April 21, 2016

18                                                        Respectfully submitted,
19
                                                          HEATHER E. WILLIAMS
20                                                        Federal Defender

21
                                                          /s/ Eric V. Kersten
22                                                        ERIC V. KERSTEN
23                                                        Assistant Federal Defender
                                                          Attorneys for Defendant
24                                                        LADONNA LEE MOON

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 1                                                  ORDER
 2            Good cause appearing, IT IS HEREBY ORDERED that the defendant shall surrender for
 3   service of sentence at the institution designated by the Bureau of Prisons before May 16, 2016.
 4            IT IS FURTHER ORDERED that all other conditions of release shall remain in full force
 5   and effect until further order of the court.
 6
     IT IS SO ORDERED.
 7
     Dated:    April 25, 2016
 8                                                  SENIOR DISTRICT JUDGE
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